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    Court Haae: UNITED STATES DISTRICT COURT
    Division: 3
    Receipt Nuaber: 34683011473
    Cashier ID: lgarrett
    Transaction Date: Q1/25/S011
    Payer Naae: CITY OF RICHHQND VIRGINIA

    CIVIL FILING FEE
     For: CITY OF RICHMOND VIRGINIA
     Aaount:         $358.88

    CHECK
     Check/Hone/ Order Hum: 3896S3
     flat Tendered: $350.00

    Total Due:      $358.08
    Total Tendered: $350.00
    Change flat:       $8.88

    CIVIL FILING FEE
    3:11CV865
